                                                                      IT IS HEREBY ADJUDGED and
                                                                      DECREED this is DENIED.

                                                                      Dated: July 13, 2023
 The failure of debtor to request a hearing on this motion requires
 denial.




                                                                      Eddward P. Ballinger Jr., Chief Bankruptcy Judge
                                                                      _________________________________




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